         Case 19-81146-SKH                       Doc 6 Filed 08/02/19 Entered 08/02/19 22:00:42                                          Desc Ch 7
                                                    First Mtg I/J No POC Page 1 of 2
Information to identify the case:

Debtor 1:
                      Michael David Bunting                                            Social Security number or ITIN:       xxx−xx−4131
                                                                                       EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Aprilbie Quizan Bunting                                          Social Security number or ITIN:       xxx−xx−8107
(Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        District of Nebraska                                Date case filed for chapter:         7         8/2/19

Case number:19−81146−SKH
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                    12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                                About Debtor 2:

1.      Debtor's full name                       Michael David Bunting                                          Aprilbie Quizan Bunting

2.      All other names used in the              aka Mike Bunting, aka Michael D Bunting                        aka Aprilbie Q Bunting
        last 8 years

3.      Address                                  11274 S 117th Ave                                              11274 S 117th Ave
                                                 Papillion, NE 68046                                            Papillion, NE 68046

4.      Debtor's attorney                        Samuel J. Turco Jr.                                            Contact phone (402) 614−7171
                                                 Sam Turco Law Offices                                          Email: sam.turco@samturcolawoffices.com
        Name and address                         3006 South 87th Street
                                                 Omaha, NE 68124

5.      Bankruptcy trustee                       James A. Overcash                                              Contact phone 402−437−8500
                                                 James A. Overcash,Trustee
        Name and address                         301 South 13th Street, Ste 500
                                                 Woods & Aitken LLP
                                                 Lincoln, NE 68508



                                                                                                               For more information, see page 2 >
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Debtor Michael David Bunting and Aprilbie Quizan Bunting                                                              Case number 19−81146−SKH


6. Bankruptcy Clerk's Office Mailing Address Street Address                                                 Office Hours: 8:00 − 4:30
                                                   111 South 18th Plaza
    Roman L. Hruska United States Courthouse       Suite 1125
    111 South 18th Plaza, Suite 1125               Omaha, NE 68102                                          Contact phone (402)661−7444
    Omaha, NE 68102
    View online at www.pacer.gov.                                                                           Date: 8/2/19

7. Meeting of creditors                            September 5, 2019 at 12:30 PM                            Location:

    Debtors must attend the meeting to be          The meeting may be continued or adjourned Roman L. Hruska Courthouse, 111
    questioned under oath. In a joint case, both   to a later date. If so, the date will be on the South 18th Plaza, US Trustee
    spouses must attend. Creditors may attend,
    but are not required to do so.                 court docket.                                   Meeting Room, Omaha, NE 68102


8. Presumption of abuse                            The presumption of abuse does not arise.
    If the presumption of abuse arises, you may have the right to file a motion to dismiss the case under 11 U.S.C. § 707(b). Debtors may rebut the
    presumption by showing special circumstances.


9. Deadlines                                       File by the deadline to object to         Filing deadline: 11/4/19
                                                   discharge or to challenge whether certain
    The bankruptcy clerk's office must receive     debts are dischargeable:
    these documents and any required filing fee
    by the following deadlines.
                                                   You must file a complaint:
                                                   • if you assert that the debtor is not entitled to
                                                     receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or

                                                   • if you want to have a debt excepted from
                                                   discharge
                                                      under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:
                                                   • if you assert that the discharge should be denied
                                                     under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                        Filing deadline: If applicable, 30 days
                                                   The law permits debtors to keep certain property as      after the conclusion of the meeting of
                                                   exempt. If you believe that the law does not authorize   creditors
                                                   an exemption claimed, you may file an objection.


10. Proof of claim                                 No property appears to be available to pay creditors. Therefore, please do not file a
                                                   proof of claim now. If it later appears that assets are available to pay creditors, the
    Please do not file a proof of claim unless you clerk will send you another notice telling you that you may file a proof of claim and
    receive a notice to do so.                     stating the deadline.

11. Creditors with a foreign address               If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                                   motion asking the court to extend the deadlines in this notice. Consult an attorney
                                                   familiar with United States bankruptcy law if you have any questions about your rights
                                                   in this case.

12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                   not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                   www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                   debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                   the objection by the deadline to object to exemptions in line 9.

13. Abandonment of Assets                          Within 21 days after the § 341(a) meeting is held, the trustee will file with the court a
                                                   list of property to be abandoned. If no objection to the list is filed within 40 days after
                                                   the § 341(a) meeting is held, the property will be deemed abandoned without further
                                                   action by the court. (To determine the date the § 341(a) meeting is actually held,
                                                   interested parties may contact the office of the U.S. Trustee at (402) 221−4300).

14. Appointment of Trustee                         The trustee named on the front side is the interim trustee appointed by the U.S.
                                                   Trustee to serve under general blanket bond.
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